
Roane, Judge.*
The court is of opinion, that Mrs. Teas, under whom the appellant claims, having never renounced her character of citizen of Virginia; nor acquired that of a citizen of North-Carolina; is not embraced by the first part of the proviso of § 4. ch. 103. (pa. 186. of Pleasants' edition of the laws,) under the decision of this court in the case of Murray v. M‘Carty; so as to deprive a slave purchased by her in another state, after the passing of that act and brought into this commonwealth, of the right of freedom, enuring to him under the 2d § thereof: but the appellee in this case having been atthe time of the commencement of this act, actually owned by the said Mrs. Teas, his right to freedom is *234barred by that circumstance, under the provision as to citizens of the commonwealth, contained in the last part of the said proviso] and this a fortiori, as the said Mrs. Teas had owned the appellee as a slave in Virginia, and carried him with her into the state of Nortli-Carolina.
Under this opinion against the appellee, on the merits, it is unnecessary, however plain, to inquire into the sufficiency of the depositions excepted to in the proceedings: but if that deposition ought to have been rejected, it shews more strongly, that the judgment in Ms favor is erroneous.
Both judgments are to be reversed and entered for the appellant.

 Brooke absent.

